Case 1:17-cr-00434-ARR Document 296 Filed 01/04/22 Page 1 of 1 PageID #: 4045

                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
TH                                                 271 Cadman Plaza East
F. #2014R01255                                     Brooklyn, New York 11201



                                                   January 4, 2022

By ECF

The Honorable Allyne R. Ross
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

              Re:    United States v. Melendez-Rojas, et al.
                     Criminal Docket No. 17-434 (ARR) f

Dear Judge Ross:

               The government respectfully submits this letter to request that the sentencing
dates for the defendants in the above-captioned case be scheduled on any dates prior to
February 15, 2022, or, alternatively, on any dates after March 4, 2022. The government
makes this request because one of the undersigned Assistant United States Attorneys is
leaving the Office on February 15, and the other two are currently starting separate trials
starting on February 22 and February 28. The government recognizes that scheduling these
sentencing dates have been particularly difficult in light of the COVID-19 pandemic and
apologizes for any inconvenience to the Court.


                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                           By:       /s/
                                                   Tanya Hajjar
                                                   Erin E. Argo
                                                   Gillian Kassner
                                                   Assistant U.S. Attorneys
                                                   (718) 254-7000
